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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
___________________________________

UNITED STATES OF AMERICA,

                         Plaintiff,
                                                              Civil Action No. 1:20-cv-02227-RC
             v.

FIFTY-THREE VIRTUAL CURRENCY
ACCOUNTS, et al.,

                  Defendants.
____________________________________

                                              [Proposed]
                                               ORDER

          For the reasons set forth in the Weinstock Claimants’ Second Consent Motion for an

 Extension of Time, it is hereby Ordered that

           a)     The Weinstocks’ time to oppose the Government’s and Mr. Karatas’ Motions to

Strike (DE 85, 87), and to file a Reply in further support of their Motion for Summary Judgment,

is extended until June 23, 2025; and

           b)     The Government’s and Mr. Karatas’ time to file replies in further support of their

Motions to Strike is extended until July 9, 2025.

SO ORDERED

Dated:

                                                              _______________________
                                                              United States District Judge
